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Verdict Form (Phase Two)

Answer the questions below as to each plaintiff. All agree that the answer to Question 1 for the first two plaintiffs
is “yes.” If you answer “yes” to Question 1, then you have found BART liable as to that plaintiff and must answer
Question 2 as to that particular plaintiff. Your answers must be unanimous.

Plaintiff Question 1 Question 2
Has plaintiff proven a prima If you answered “YES” to
facie case? YES or NO. Question 1, state the damages

proven by plaintiff, if any.

Raymond Lockett YES $1, 507570

Ryan Rivera YES $ 1,17 3 7
Tonya Lewis- Williams yzS $1,371 657

Bradford Mitchell y ES $ L 13 971

Rosalind Parker VES $1,279 3215
Szu-Cheng Sun (S.C. Sun) Yes $7,325 +O

Count She—§ 23 Ocbeler 200-4

FOREPERSON DATE
